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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

STATE OF CONNECTICUT OFFICE OF : ~~ Civil Action No. 3:03CV1352 (RNC)
PROTECTION AND ADVOCACY
FOR PERSONS WITH DISABILITIES;
JAMES MCGAUGHEY, Executive
Director, Office of Protection and
Advocacy for Persons with Disabilities,

Plaintiffs,
Vv.

WAYNE CHOINSKI, Warden, :
Northern Correctional! Institution,
in his official capacity; :

GIOVANNY GOMEZ, Warden,

Garner Correctional Institution,
in his official capacity; and

THERESA C. LANTZ, Commissioner,
Connecticut Department of Correction,
in her official capacity;

Defendants. : September dl , 2005

ORDER OF DISMISSAL

Having considered the Joint Motion For Conditional Dismissal And Approval of
Settlement, and the parties’ Settlement Agreement attached hereto as Exhibit A, it is
ORDERED that such Motion be, and is hereby, GRANTED;

IT IS FURTHER ORDERED that all terms and conditions of the parties’
Settlement Agreement are hereby INCORPORATED INTO THIS ORDER as if fully set
forth herein, and are hereby APPROVED, and the defendants are DIRECTED to fulfill

the obligations undertaken in the Settlement Agreement;

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C) OD

IT IS FURTHER ORDERED that, subject to the terms and conditions of! this
Order, the above entitled action is hereby DISMISSED WITH PREJUDICE; and
IT IS FURTHER ORDERED that this Court shall RETAIN JURISDICTION over

this action for the purposes of enforcing any of the terms or conditions of the parties’

Settlement Agreement, This jurisdiction shall be limited as set forth in Sections A.13]/ and
B.17 of the Settlement Agreement. |
SO ORDERED this 2b day of September, 2005.
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Robert N. Chatigny 0) /
Chief United States District Judge

